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IN THE UNITED sTATES DisTRiCT coURT HU‘~D 3‘ die
FoR THE WESTERN DISTRICT oF TENNESSEE HE HM 1 5 PH 51 \ 0
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uNiTED STATES oF AMERICA,

Plaimiff,
vs. No. 96-20052-1\/13

JAMES SPENCER,

Dei`endant.

 

ORDER RESETTING SENTENC[NG DATE

 

Before the court is the government’s May 16, 2005, motion to continue the sentencing of
J ames Spencer, Which is presently set for May 17, 2005. For good cause shown, the motion is
grantedl The sentencing of defendant J ames Spencer is reset to Friday, June 3, 2005 at 11:00
a.m.

11 is 30 oRDERED this l U"\iay OfMay, 2005.

JAM//H/z_._`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

W/

UNITED`SATES DISTRIC COURT - WEERN DISITRCT oF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 412 in
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Honorable Samuel Mays
US DISTRICT COURT

